Case 2:05-cr-20082-.]DB Document 43 Filed 07/25/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED sTATEs oF AMERICA,
Plaim;iff, 05- 20032.

VS.

RODERCUS FREEMAN,

>+>e>e+>+)e>ex->+

Defendant.

Page|D 36

FfLED By ~%/W D(_
05 JUL 25 PH 3.~ 3b

WG,'.£¢£; H
CL£RW .‘ CLWLD
MJ'DU rer 1 gi1*~']5;§1!§‘?7

.l .._-,s

Cr. No.~@§-QQQ££rBre

 

ORDER CONTINUING JULY 25, 2005 HEARING

 

Upon motion of the United States, and for good cause shown, it

is hereby ORDERED that the July 25, 2005 hearing presently set in

this case is continued to August 18, 2005 at 11:15 a.m.

ENTERED this 25th day of Jul 2005.

®M

jANIEL BREEN

ni jed States District Judge

1‘L"l"':"j m
L¢
T'L`~\‘O 50

»h
d\Rme§BanmorB¢\,
\|`H

» ~', if\`ll'j

C\'j
31 \`LJUrL p|`i`

.J~~‘“"gm&§ 0 ___._.--

i\P'“’ \;HCFPO“

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:05-CR-20082 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

